                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:05-cr-36
vs.                                                  )
                                                     )       JUDGE COLLIER
JAMES BOYD                                           )



                                MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on August 17, 2011, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
for Offender Under Supervision (the “Petition”) of U.S. Probation Officer Tim Chavers and the
Warrant for Arrest issued by Chief U.S. District Judge Curtis L. Collier. Those present for the
hearing included:

               (1) AUSA John Macoon for the USA.
               (2) The defendant JAMES BOYD.
               (3) Attorney Myrlene Marsa for defendant.
               (4) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified for
the appointment of an attorney to represent him at government expense. Federal Defender Services
of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was determined the
defendant had been provided with a copy of the Petition for Warrant for Offender Under Supervision
and the Warrant for Arrest and had the opportunity of reviewing those documents with Atty. Marsa.
It was also determined the defendant was capable of being able to read and understand the copy of
the aforesaid documents he had been provided.

       AUSA Macoon moved defendant be detained without bail pending his revocation hearing
before Chief U.S. District Judge Curtis L. Collier. The defendant waived his right to a preliminary
hearing, but requested a detention hearing which was held.

                                             Findings

       (1) Based upon the Petition and waiver, the undersigned finds there is probable cause

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     to believe defendant has committed violations of his conditions of supervised release
     as alleged in the Petition.

     (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
     Rules of Criminal Procedure, that if released on bail he will not flee or will not pose
     a danger to the community.


                                         Conclusions

     It is ORDERED:

     (1) The defendant shall be appear in a revocation hearing before Chief U.S. District
     Judge Curtis L. Collier.

     (2) The motion of AUSA Macoon that defendant be DETAINED WITHOUT BAIL
     pending his revocation hearing before Judge Collier is GRANTED.

     (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
     Collier on Thursday, September 29, 2011, at 9:00 am.

     ENTER.


                                            s/Susan K. Lee
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE




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